Case 2:05-cr-20020-.]DB Document 25 Filed 08/26/05 Page 1 of 2 Page|D 33

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"1 F._J<"JR$.

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IN THE UNITED sTATEs DIsTRICT COURT
FOR THE wEsTERN DIsTRIcT OF TENNESSEE .. . .
wEsTERN DIvIsION 93 &"JEG 25 PH EZ` 3;

UNITED STATES OF AMERICA, *

 

Plaintiff, *
V. * CR. NO. OS-ZOOZO~B
JEFFREY P. DALLAS, *

Defendant. *

 

ORDER

 

After having considered the defendant’s motion to Reset Time
of the Supervised Release Hearing, the Court finds the Motion
should be Granted.

The Motion shall be reset to /L¢¢,§dw <-/4'1¢, 27'{'£, September
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2005 at [.‘ %Q am@

It is so Ordered, Adjudged and Decreed, this izfy?hday of

August 2005.

 

J. D IEL BREEN \
IT D sTATEs DIsTRIcT coURT JUDGE

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This notice confirms a copy of the document docketed as number 25 in
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Honorable J. Breen
US DISTRICT COURT

